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                                                                     NAVY FEDERAL CREDIT UNION
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                                                                11                           UNITED STATES DISTRICT COURT
                           Los Angeles, California 90071-2627
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                                                                12                      CENTRAL DISTRICT OF CALIFORNIA
                                                                13                                WESTERN DIVISION
                                                                14
                                                                15   ANDREW KING, on behalf of himself         Case No.: 2:23-cv-05915 SPG (AGRx)
                                                                16   and all others similarly situated,
                                                                                                               Hon. Sherilyn Peace Garnett
                                                                17              Plaintiff,
                                                                18                                             DEFENDANT NAVY FEDERAL
                                                                          v.                                   CREDIT UNION’S REQUEST FOR
                                                                19                                             JUDICIAL NOTICE IN SUPPORT OF
                                                                20   NAVY FEDERAL CREDIT UNION                 MOTION TO DISMISS PLAINTIFF’S
                                                                     and DOES 1-50, inclusive,                 FIRST AMENDED COMPLAINT
                                                                21
                                                                22              Defendants.                    [Notice of Motion and Motion to Dismiss
                                                                                                               and Declaration of Hakop Stepanyan filed
                                                                23                                             concurrently herewith]
                                                                24
                                                                                                               Date:    December 20, 2023
                                                                25                                             Time:    1:30 p.m.
                                                                26                                             Crtm:    5C

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                                                                       DEFENDANT NAVY FEDERAL CREDIT UNION’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                                                                                   MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
                                                                Case 2:23-cv-05915-SPG-AGR Document 22 Filed 11/16/23 Page 2 of 3 Page ID #:319



                                                                 1         Pursuant to Federal Rule of Evidence 201, Defendant Navy Federal Credit
                                                                 2   Union (“Navy Federal”) respectfully requests, in support of its Motion to Dismiss
                                                                 3   Plaintiff’s First Amended Complaint, that the Court take judicial notice of the
                                                                 4   following document:
                                                                 5         Exhibit A: Navy Federal’s current Schedule of Fees and Charges (the “Fee
                                                                 6   Schedule”).
                                                                 7         In ruling on a motion to dismiss pursuant to Rule 12(b)(6), the Court may look
                                                                 8   to documents incorporated into the complaint by reference and matters properly
                                                                 9   subject to judicial notice under Fed. R. Evid. 201. Khoja v. Orexigen Therapeutics,
                                                                10   Inc., 899 F.3d 988, 998 (9th Cir. 2018); Lee v. City of L.A., 250 F.3d 668, 688–89 (9th
                                                                11   Cir. 2001). The Court can consider the attached Fee Schedule under both precepts.
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                                                                12         The incorporation-by-reference doctrine “treats certain documents as though
                                                                13   they are part of the complaint itself.” Khoja, 899 F.3d at 1002. A document is
                                                                14   incorporated into a pleading by reference “if the plaintiff refers extensively to the
                                                                15   document or the document forms the basis of the plaintiff’s claim.” Davis v. HSBC
                                                                16   Bank Nev., N.A., 691 F.3d 1152, 1160 (9th Cir. 2012). Here, Plaintiff not only
                                                                17   extensively refers to Navy Federal’s Fee Schedule in the First Amended Complaint
                                                                18   (“FAC”), but a prior version of the Fee Schedule is attached to the FAC. FAC ¶¶ 21,
                                                                19   22, 27, 34; Exh. C. Because Plaintiff incorporates the Fee Schedule by reference, the
                                                                20   Court may properly consider it.
                                                                21         The Court may also judicially notice matters “not subject to reasonable dispute”
                                                                22   because they are (1) “ generally known within the trial court’s territorial jurisdiction”
                                                                23   or (2) “can be accurately and readily determined from sources whose accuracy cannot
                                                                24   reasonably be questioned.” Fed. R. Evid. 201(b). “[M]atters of public record,”
                                                                25   including publicly accessible websites, are not subject to reasonable dispute. Asner v.
                                                                26   SAG-AFTRA Health Fund, 557 F. Supp. 3d 1018, 1024 (C.D. Cal. 2021) (citing Lee,
                                                                27   250 F.3d at 688-89). Thus, “documents on ‘publicly available websites’ are proper
                                                                28   subjects of judicial notice.” CF Gainesville Inv., LLC v. Astronergy Solar, Inc., 2022
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                                                                        DEFENDANT NAVY FEDERAL CREDIT UNION’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                                                                                    MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
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                                                                 1   WL 1203006, at *5 (C.D. Cal. Apr. 22, 2022) (judicially noticing company’s website
                                                                 2   homepage, “about” section of website, and biography on website); see also Calhoun v.
                                                                 3   Google, LLC, 526 F. Supp. 3d 605, 617 (N.D. Cal. 2021) (judicially noticing online
                                                                 4   privacy policies because “[t]hese documents appear on publicly available websites”).
                                                                 5           The attached Fee Schedule appears on a publicly available website:
                                                                 6   https://www.navyfederal.org/content/dam/nfculibs/pdfs/membership/2043ep.pdf.
                                                                 7   Declaration of Hakop Stepanyan ¶ 2; Exh A. The Court, therefore, may properly take
                                                                 8   judicial notice of it.
                                                                 9
                                                                10   Dated: November 16, 2023                       HUNTON ANDREWS KURTH LLP
                                                                11
                           Los Angeles, California 90071-2627
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                                                                12                                                  By:        /s/ Jason J. Kim
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                                                                                                                          NAVY FEDERAL CREDIT UNION
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                                                                                    MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
